Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 1 of 13 Page ID #:1




                                                  08/01/2022
                                                      RAM




                                                  5:22-CV-01356-JWH-SHK
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 2 of 13 Page ID #:2
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 3 of 13 Page ID #:3
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 4 of 13 Page ID #:4
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 5 of 13 Page ID #:5
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 6 of 13 Page ID #:6
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 7 of 13 Page ID #:7
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 8 of 13 Page ID #:8
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 9 of 13 Page ID #:9
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 10 of 13 Page ID #:10
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 11 of 13 Page ID #:11
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 12 of 13 Page ID #:12
Case 5:22-cv-01356-JWH-SHK Document 1 Filed 08/01/22 Page 13 of 13 Page ID #:13
